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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

 Case No.        CV 20-0129-VAP (KS)                                          Date: October 16, 2020
 Title           William Nathaniel Washington v. County of Los Angeles et al




 Present: The Honorable:       Karen L. Stevenson, United States Magistrate Judge


                     Gay Roberson                                            N/A
                     Deputy Clerk                                   Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      N/A                                                  N/A

 Proceedings (IN CHAMBERS) ORDER TO SHOW CAUSE RE: REIMBURSING THE
               U.S. MARSHAL FOR COSTS RELATING TO SERVICE

         Federal Rule of Civil Procedure 4(d) places a duty on defendants to avoid the unnecessary
 expense of service. Defendants Lina Awi and Timothy Briggs were provided with a copy of the
 summons and operative complaint and a waiver of service form, but they elected not to waive
 service and avoid these costs. (See Dkt. Nos. 48, 49.) As a result, the U.S. Marshal’s Service was
 required to personally serve them, during the COVID-19 pandemic, at a cost of $241.00 for
 Defendant Briggs and $241.00 for Defendant Awi. (See Dkt. Nos. 48, 49.) Rule 4(d) requires that
 the Court must impose the cost of service on defendants who fail, without good cause, to return a
 waiver. Therefore, IT IS ORDERED that Defendants Lina Awi and Timothy Briggs shall
 appear by videoconference before the Court on Tuesday, November 10, 2020 at 10:00 a.m. and
 show cause as to why they should not be ordered to pay those costs.

         The Clerk will reach out to defense counsel with the information for the videoconference.
 Because this hearing does not involve Plaintiff and has no impact on the merits of this case,
 Plaintiff is not required to attend.

         IT IS SO ORDERED.
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                                                                      Initials of Preparer   gr




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